 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19           PageID.1   Page 1 of 10




                    IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


HOWARD COHAN,

       Plaintiff,                                 Case No.

v.                                                Hon.

THE NEIMAN MARCUS GROUP                           Magistrate Judge
LLC,

       Defendant.
                                              /

 PLAINTIFF’S COMPLAINT FOR DECLARATORY AND INJUNCTIVE
                         RELIEF

      Plaintiff Howard Cohan, through his undersigned counsel, states the

following in support of his Complaint for Declaratory and Injunctive Relief to

remedy discrimination by The Neiman Marcus Group LLC based on Plaintiff’s

disability in violation of Title III of the Americans with Disabilities Act of 1990,

42 U.S.C. §§ 12181 et seq. (“ADA”), and its implementing regulation, 28 C.F.R.

Part 36:

                         JURISDICTION AND VENUE

      1.     This Court has jurisdiction over this action pursuant to 42 U.S.C. §

2000a-3(a), 28 U.S.C. § 1331, and 28 U.S.C. § 1343.




                                          1
 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19           PageID.2    Page 2 of 10




       2.     Venue is appropriate in this district under 28 U.S.C. § 1391 because

the acts of discrimination occurred in this district, and the property that is the

subject of this action is in this district.

                                         PARTIES

       3.     Plaintiff is a resident of Palm Beach County, Florida.

       4.     Defendant is a limited liability company with its registered office

located at 40600 Ann Arbor Rd E, Ste 201, Plymouth, MI 48170.

       5.     Upon information and belief, Defendant owns or operates “Neiman

Marcus” whose locations qualify as a “Facility” as defined in 28 C.F.R. § 36.104.

                             FACTUAL ALLEGATIONS

       6.     Plaintiff incorporates the above paragraphs by reference.

       7.     Plaintiff is an individual with numerous disabilities, including severe

spinal stenosis of the lumbar spine with spondylolisthesis and right leg pain, severe

spinal stenosis of the cervical spine with nerve root compromise on the right side, a

non-union fracture of the left acromion, a labral tear of the left shoulder, a full

thickness right rotor cuff tear, a right knee medial meniscal tear, a repaired ACL

and bilateral meniscal tear of the left knee and severe basal joint arthritis of the left

thumb.




                                              2
 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19          PageID.3    Page 3 of 10




      8.     At the time of Plaintiff’s initial visit to Neiman Marcus (and prior to

instituting this action), Plaintiff suffered from a qualified disability under the 28

C.F.R. 36.105.

      9.     Plaintiff’s condition is degenerative and requires occasional use of

mobility aids to assist his movement.

      10.    Plaintiff regularly travels to Michigan to visit friends and shop and

has plans to return to Troy on June 13, 2019.

      11.    Plaintiff encountered barriers to access at the Facility which denied

him full and equal access and enjoyment of the services, goods and amenities.

      12.    Plaintiff is a customer of Defendant and would return to the Facility in

June if Defendant modifies the Facility and its policies and practices to

accommodate individuals who have physical disabilities, but he is deterred from

returning due to the barriers and discriminatory effects of Defendant’s policies and

procedures at the Facility.

      13.    Due to Plaintiff’s frequent travels, he also acts as a tester by

inspecting Facilities for accessibility to advance the purpose of the ADA, the civil

rights of disabled individuals, and to be certain that he can enjoy the same options

and privileges to patronize places of public accommodation as non-disabled

individuals without worrying about accessibility issues.




                                           3
 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19           PageID.4    Page 4 of 10




       14.    Plaintiff returns to every Facility after being notified of remediation of

the discriminatory conditions to verify compliance with the ADA and regularly

monitors the status of remediation.

                      COUNT I
 REQUEST FOR DECLARATORY JUDGMENT UNDER 28 U.S.C. § 2201

       15.    Plaintiff incorporates the above paragraphs by reference.

       16.    This Court is empowered to issue a declaratory judgment regarding:

(1) Defendant’s violation of 42 U.S.C. § 12182; (2) Defendant’s duty to comply

with the provisions of 42 U.S.C. § 12181 et al; (3) Defendant’s duty to remove

architectural barriers at the Facility; and (4) Plaintiff’s right to be free from

discrimination due to his disability. 28 U.S.C. § 2201.

       17.    Plaintiff seeks an order declaring that he was discriminated against on

the basis of his disability.

                        COUNT II
  REQUEST FOR INJUNCTIVE RELIEF UNDER 42 U.S.C. § 2000a–3(a)

       18.    Plaintiff incorporates the above paragraphs by reference.

       19.    Neiman Marcus is a place of public accommodation covered by Title

III of the ADA because it is operated by a private entity, its operations affect

commerce, and it is a store. 42 U.S.C. § 12181(7); see 28 C.F.R. § 36.104.




                                            4
 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19          PageID.5    Page 5 of 10




      20.      Defendant is a public accommodation covered by Title III of the ADA

because it owns, leases (or leases to), or operates a place of public accommodation.

See 42 U.S.C. §§ 12181(7), 12182(a); 28 C.F.R. § 36.104.

      21.      Architectural barriers exist which denied Plaintiff full and equal

access to the goods and services Defendant offers to non-disabled individuals.

      22.      Plaintiff personally encountered architectural barriers on March 23,

2018, at the Facility located at 2705 W Big Beaver Rd, Troy, Michigan 48084:

            a. First Floor Restroom:

                  i. Providing grab bars of improper horizontal length or spacing as

                     required along the rear or side wall in violation of 2010

                     ADAAG §§604, 604.5, 604.5.1 and 604.5.2.

                 ii. Failing to provide toilet paper dispensers in the proper position

                     in front of the water closet or at the correct height above the

                     finished floor in violation of 2010 ADAAG §§604, 604.7 and

                     309.4.

                 iii. Failing to provide a coat hook within the proper reach ranges

                     for a person with a disability in violation of 2010 ADAAG

                     §§603, 603.4 and 308.




                                            5
Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19        PageID.6    Page 6 of 10




            iv. Failing to provide a coat hook within the proper reach ranges

                 for a person with a disability in violation of 2010 ADAAG

                 §§603, 603.4 and 308.

             v. Failing to provide mirror(s) located above lavatories or

                 countertops at the proper height above the finished floor in

                 violation of 2010 ADAAG §§603 and 603.3.

            vi. Failing to provide the water closet in the proper position

                 relative to the side wall or partition in violation of 2010

                 ADAAG §§604 and 604.2.

            vii. Failing to provide the water closet seat at the correct height

                 above the finished floor in violation of 2010 ADAAG §§604

                 and 604.4.

           viii. Failing to provide proper knee clearance for a person with a

                 disability under a counter or sink element in violation of 2010

                 ADAAG §§306, 306.1 306.3, 606 and 606.2.

       b. Second Floor Restroom:

              i. Providing grab bars of improper horizontal length or spacing as

                 required along the rear or side wall in violation of 2010

                 ADAAG §§604, 604.5, 604.5.1 and 604.5.2.




                                        6
Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19        PageID.7    Page 7 of 10




             ii. Failing to provide toilet paper dispensers in the proper position

                 in front of the water closet or at the correct height above the

                 finished floor in violation of 2010 ADAAG §§604, 604.7 and

                 309.4.

            iii. Failing to provide a coat hook within the proper reach ranges

                 for a person with a disability in violation of 2010 ADAAG

                 §§603, 603.4 and 308.

            iv. Failing to provide a coat hook within the proper reach ranges

                 for a person with a disability in violation of 2010 ADAAG

                 §§603, 603.4 and 308.

             v. Failing to provide mirror(s) located above lavatories or

                 countertops at the proper height above the finished floor in

                 violation of 2010 ADAAG §§603 and 603.3.

            vi. Failing to provide the water closet in the proper position

                 relative to the side wall or partition in violation of 2010

                 ADAAG §§604 and 604.2.

            vii. Failing to provide the water closet seat at the correct height

                 above the finished floor in violation of 2010 ADAAG §§604

                 and 604.4.




                                        7
 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19          PageID.8    Page 8 of 10




              viii. Failing to provide proper knee clearance for a person with a

                     disability under a counter or sink element in violation of 2010

                     ADAAG §§306, 306.1 306.3, 606 and 606.2.

       23.   These barriers cause Plaintiff difficulty in safely using each element

of the Facility, requiring extra care due to concerns for safety and a fear of

aggravating his injuries.

       24.   Defendant has failed to remove some or all of the barriers and

violations at the Facility.

       25.   Defendant’s failure to remove these architectural barriers denies

Plaintiff full and equal access to the Facility in violation of 42 U.S.C. §

12182(b)(2)(A)(iv).

       26.   Plaintiff believes that Defendant similar barriers are present

       27.   Defendant’s failure to modify its policies, practices, or procedures to

train its staff to identify architectural barriers and reasonably modify its services

creates an environment where individuals with disabilities are not provided goods

and services in the most integrated setting possible is discriminatory. 42 U.S.C. §§

12182(a), 12182(b)(2)(A)(iv), and 28 C.F.R. § 36.302.

       28.   Defendant has discriminated and continues to discriminate against

Plaintiff (and others who are similarly situated) by denying access to full and equal

enjoyment of goods, services, facilities, privileges, advantages, or accommodations



                                           8
 Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19           PageID.9    Page 9 of 10




located at the Facility due to the barriers and other violations listed in this

Complaint.

       29.    It would be readily achievable for Defendant to remove all of the

barriers at the Facility.

       30.    Failing to remove barriers to access where it is readily achievable is

discrimination against individuals with disabilities. 42 U.S.C. §§ 12182(a),

12182(b)(2)(A)(iv), and 28 C.F.R. § 36.304.

                               RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that this Court:

       A.     declare that the Facility identified in this Complaint is in violation of

the ADA;

       B.     declare that the Facility identified in this Complaint is in violation of

the ADAAG;

       C.     enter an Order requiring Defendant make the Facility accessible to

and usable by individuals with disabilities to the full extent required by Title III of

the ADA;

       D.     enter an Order directing Defendant to evaluate and neutralize its

policies, practices, and procedures towards persons with disabilities;




                                            9
Case 5:19-cv-11037-JEL-SDD ECF No. 1 filed 04/10/19        PageID.10    Page 10 of 10




      E.     award Plaintiff attorney fees, costs (including, but not limited to court

costs and expert fees) and other expenses of this litigation pursuant to 42 U.S.C. §

12205; and

      F.     grant any other such relief as the Court deems just and proper.


                                       Respectfully Submitted,

                                       BLACKMORE LAW PLC

                                        /s/ Gloria Y. Saad
                                        Gloria Y. Saad (P83131)
                                        BLACKMORE LAW PLC
                                        21411 Civic Center Drive, Suite 200
                                        Southfield, MI 48076
                                        T: (833) 343-6743
                                        F: (855) 744-4419
                                        E: gsaad@blackmorelawplc.com
                                        Counsel for Plaintiff
Dated: April 10, 2019




                                          10
